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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CHARMIN MINER, et al.,                         )
                                               )
        Plaintiffs,                            )
                                               )
                v.                             )       Civil Action No. 1:13-cv-00633 (BAH)
                                               )
DISTRICT OF COLUMBIA, et al.,                  )
                                               )
        Defendants.                            )
                                               )

        PLAINTIFFS’ RESPONSE TO DEFENDANT’S REPLY TO PLAINTIFFS’
          RESPONSE TO THE COURT’S MAY 5, 2015 SHOW CAUSE ORDER

        Plaintiffs briefly respond to Defendant's Reply [38] which the District filed this afternoon

criticizing Plaintiffs' Response to the Court's May 5, 2015 Show Cause Order.

        First, we draw the Court's attention to the District's admission that Plaintiffs' mootness

argument is correct. See Defendant's Reply at 1-2.

        Second, to be clear, Plaintiffs relied on the facts and the material factual disputes which

the Court described in its Memorandum Opinion on summary judgment at pages 15-16 (see

Plaintiffs' Show Cause Response at 1-2); and Defendant chose not to seek correction of those

facts as would be proper in a Motion to Alter or Amend the Judgment under Fed. R. Civ. P.

59(e). Consequently, these facts as found by the Court in its Memorandum Opinion stand at this

point in the litigation.

        Interestingly, Defendant now admits that its titled "Motion to Vacate and Reconsider"

[33] is in fact a second Motion for Summary Judgment - a second bite at the apple tactic that

must surely raise questions. See Defendant's Reply at 2, passim.

        Another interesting and almost absurd development occurred today (at 2:07 pm) when

Defendant's attorneys for the first time informed Plaintiffs' counsel that Officer Elliott, one of the
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previously "unknown officers," is now back from his overseas military duty. This information

came as a response to Plaintiffs' previous query as to Officer Elliott's whereabouts and Plaintiffs'

desire to take his deposition which the Court allowed to be taken out of time due to Elliott's

absence for overseas military service during the discovery period. See Minute Order dated

August 6, 2014.

       Last but not least, we wish to draw the Court's attention to the District's factual

admissions on page 11 of its Memorandum supporting its Motion to Vacate and Reconsider [33-

1]. The violent actions that the District's police officers took against two African American men

for alleged "traffic violations" was unconscionable, yet is conduct that is sanctioned and

defended to the hilt by the District. The police should make citizens safe in the city, not the

other way around.

       Many get frustrated not only with the roughhouse tactics of the D.C. police but also with

the District's litigation tactics in these types of cases. Here, with a thinly disguised second

Motion for Summary Judgment, an unseemly attack on Plaintiffs' Show Cause Response, hiding

of a defendant officer until after the last minute, and a negative attitude towards having a Court

hearing that would likely clear up some complicated issues - the Plaintiffs and their counsel here

must join with the frustrated many.

                                       Respectfully Submitted,

                                       /s/ Joseph D. Gebhardt
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May 4, 2015                            Attorney for Plaintiffs
